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                     IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                       *

v.                                             *       Criminal No.: RDB-19-020

PAUL ALEXANDER                                 *

        Defendant                              *

*       *        *        *    *       *       *       *       *       *       *     *

                     DEFENDANT’S MOTION TO DISCLOSE IDENTITIES
                           OF CONFIDENTIAL INFORMANT(S)

        NOW COMES Paul Alexander, through his attorney, Russell A. Neverdon, Sr., of the

Law Office of Russell A. Neverdon, Sr., LLC, and respectfully moves for an Order directing the

government to disclose the identities of each confidential informant regardless of whether they

will testify at trial. In support of this motion, Mr. Alexander states as follows:

     1. A review of the materials generated to date concerning the investigation which culminated

        in this indictment reveals that an important source of information used by law enforcement

        in gathering information was derived from confidential informants.

     2. Witnesses who have provided information to law enforcement did so after they were either

        charged or told that they would be indicted unless they agreed to cooperate.

     3. Counsel seeks to interview each person who gave information to law enforcement who

        falls within the category of confidential informant regardless of whether they will be called

        to testify at trial.

     4. The confidential informants used by law enforcement may be biased against defendant.
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    5. The identities of the informants are necessary to the defense in order to investigate bias,

        motives to fabricate and to cast doubt upon the credibility of certain witnesses. United

        States v. Smith, 780 F.2d 1102 (4th Cir. 1985).

    6. The Defendant seeks useful and relevant information that cannot be learned without a

        disclosure by the United States. There is no reason related to security to withhold this

        essential information.

CONCLUSION

        The particular facts of this indictment make it essential for the defense to obtain pretrial

access to the government’s confidential informants. The potential bias and lack of credibility of

the witnesses must be fully explored at trial. In order to do so, counsel must have their identities

disclosed sufficiently in advance of trial in order to conduct appropriate investigations. This critical

information is relevant, useful and potentially exculpatory thereby requiring its pretrial disclosure.

        WHEREFORE, it is respectfully requested that the Court grant this Motion for disclosure

of the identity of the informants in this case.



                                                        Respectfully submitted,


                                                        ____________/s/________________
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of June, 2019, a copy of the foregoing Motion

to Disclose was ﬁled electronically and e-mailed to Ofﬁce of the United States Attorney,

Baltimore, Maryland 21201.



                                                    ____________/s/________________
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